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Kevin P. McCulloch (S.D. Tex. Bar No. 3574874)
Nate A. Kleinman (S.D. Tex. Bar No. 3574873)
MCCULLOCH KLEINMAN LAW
501 Fifth Avenue, Suite 1809
New York, New York 10017
T: (212) 355-6050
F: (206) 219-6358
kevin@mkiplaw.com
nate@mkiplaw.com
Attorneys for Plaintiff



                             IN THE UNITED STATES DISTRICT COURT
                             FOR THE SOUTHERN DISTRICT OF TEXAS


 AARON M. SPRECHER,                                  Civil Case No. 4:20-cv-03196

    Plaintiff,
                                                     FIRST AMENDED COMPLAINT
    v.                                               AND DEMAND FOR JURY TRIAL

 DESHAUN WATSON,

    Defendant.



         Plaintiff AARON M. SPRECHER (“PLAINTIFF”), by and through undersigned counsel

and pursuant to the applicable Federal Rules of Civil Procedure and the Local Rules of this Court,

hereby demands a trial by jury of all claims and issues so triable, and, as and for his First Amended

Complaint against Defendant DESHAUN WATSON (“WATSON” or “DEFENDANT”) hereby

asserts and alleges as follows:




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                                NATURE OF THE ACTION

       1.     This is an action for copyright infringement arising out of DEFENDANT’S

unauthorized reproduction, display, use and commercial exploitation of PLAINTIFF’S original

and copyrighted photographs (collectively, the “Photographs”).

       2.     PLAINTIFF seeks injunctive and monetary relief under the U.S. Copyright Act, as

amended, 17 U.S.C. § 101 et seq.

                                           PARTIES

       3.     PLAINTIFF is a professional freelance photographer who specializes in creating

and licensing high-quality sports photography, including photographs of National Football League

(“NFL”) events and athletes.

       4.     In any and all instances relevant here, PLAINTIFF created his original photographs

at NFL events and games that he was permitted to attend pursuant to a media credential that

allowed him to create original photographs to which he owns and retains all copyrights.

       5.     PLAINTIFF makes his living by earning royalties from the licensing of his

photographs, primarily as an independent contributor to the Associated Press (“AP”).

       6.     PLAINTIFF is a resident of Houston, Texas.

       7.     DEFENDANT is a top-tier and prominent professional athlete and current NFL

quarterback for the Houston Texans.

       8.     Upon information and belief, DEFENDANT is a resident of Houston, Texas.

                               JURISDICTION AND VENUE

       9.     Jurisdiction for PLAINTIFF’S claims lie with the United States District Court for

the Southern District of Texas pursuant to the Copyright Act of 1976, 17 U.S.C. §§ 101, et seq.,

28 U.S.C. § 1331 (conferring original jurisdiction “of all civil actions arising under the



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Constitution, laws, or treaties of the United States”), and 28 U.S.C. § 1338(a) (conferring original

jurisdiction of any Act of Congress related to copyrights).

       10.     Venue is proper in this Court under 28 U.S.C. §§ 1400(a) and 1391(b) because a

substantial part of the events giving rise to PLAINTIFF’S claims occurred here and because

DEFENDANT may be found in this District.

       11.     This Court has personal jurisdiction over DEFENDANT because he resides and

conducts substantial and ongoing business in this District.

                                  FACTUAL ALLEGATIONS

       12.     Upon information and belief, DEFENDANT personally created and operates

accounts on various social media platforms, including Instagram, Facebook, and Twitter

(“SOCIAL MEDIA ACCOUNTS”), through which he regularly publishes and shares photographs

with his approximately 3 million total followers.

       13.     Upon information and belief, DEFENDANT uses his SOCIAL MEDIA

ACCOUNTS for various commercial purposes, including but not limited to promoting third-party

brands and products that he is paid to endorse and publicize.

       14.     Upon information and belief, DEFENDANT earns revenue and profit for endorsing

and publicizing products and brands on his SOCIAL MEDIA ACCOUNTS.

       15.      Upon information and belief, DEFENDANT earns revenue and profit for

associating his name, likeness, and/or image with and otherwise generating publicity for the brands

and products he endorses and publicizes on his SOCIAL MEDIA ACCOUNTS and among his 3

million followers.

       16.     Upon information and belief, DEFENDANT also uses his SOCIAL MEDIA

ACCOUNTS for the commercial purpose of publicizing himself and his own brand and image.



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       17.     Upon information and belief, DEFENDANT uses his SOCIAL MEDIA

ACCOUNTS for the commercial purpose of increasing his own popularity and/or publicity, which

are crucial factors in the amount of revenue and profit that DEFENDANT is able to earn from the

sale and licensing of his name, image, and likeness rights and/or through endorsement contracts.

       18.     Upon information and belief, DEFENDANT selected, copied, used, and exploited

PLAINTIFF’S Photographs due to their high quality and in order to further, advance, and

otherwise benefit the various commercial purposes for which DEFENANT uses his SOCIAL

MEDIA ACCOUNTS.

       19.     Upon information and belief, DEFENDANT personally controls his various

SOCIAL MEDIA ACCOUNTS.

       20.     Upon information and belief, DEFENDANT personally selected, copied, and

published PLAINTIFF’S Photographs identified herein.

       21.     Upon information and belief, DEFENDANT copied, and published PLAINTIFF’S

Photographs identified herein without permission, authorization, or license.

       22.     On or about September 14, 2017, PLAINTIFF shot the three photographs of

WATSON shown below prior to an NFL football game between the Houston Texans and

Cincinnati Bengals in Cincinnati, Ohio (the “Texans/Bengals Photos”).




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       23.     PLAINTIFF created these Texans/Bengals Photos pursuant to a valid

media/photojournalist credential.

       24.     PLAINTIFF is the sole author and owner of all copyrights in and to these three

Texans/Bengals Photos.

       25.     PLAINTIFF registered his copyrights in the Texans/Bengals Photos with the U.S.

Copyright Office under Registration Nos. VA0002205527 and VA0002219150.

       26.     Upon information and belief, on or about September 16, 2017, DEFENDANT

copied and published one of PLAINTIFF’S Texans/Bengals Photos on his Instagram account, as

shown below:




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       27.    Upon information and belief, DEFENDANT did not request or obtain permission

or license to copy, reproduce, display, or use PLAINTIFF’S photograph in any manner prior to

copying, publishing, and using it on his Instagram account.

       28.    Upon information and belief, on September 26, 2017, DEFENDANT published

another of the Texans/Bengals Photos on his Instagram account, as shown below:




       29.    Upon information and belief, DEFENDANT did not request or obtain permission

or license to copy, reproduce, display, or use PLAINTIFF’S photograph in any manner prior to

copying, publishing, and using it on his Instagram account.

       30.    Upon information and belief, DEFENDANT copied, published, and used these two

Texans/Bengals Photos for commercial purposes as alleged herein.

       31.    Upon information and belief, in the two Texans/Bengals photos shown above,

DEFENDANT is shown prominently wearing “Beats by Dre” brand headphones.



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       32.     Upon information and belief, DEFENDANT signed an endorsement deal with the

Beats brand headphones in 2017, shortly before publishing these two photographs on his Instagram

account.

       33.     Upon information and belief, DEFENDANT’S endorsement deal with Beats

requires and/or incentivizes DEFENDANT to utilize his SOCIAL MEDIA ACCOUNTS,

including Instagram, to promote and feature DEFENDANT wearing and/or using Beats products.

       34.     Upon information and belief, DEFENDANT obtains a financial benefit from

promoting, publicizing, and endorsing the “Beats by Dre” brand and its products, including on his

SOCIAL MEDIA ACCOUNTS.

       35.     Upon information and belief, DEFENDANT obtained a financial benefit and

revenue from using PLAINTIFF’S Texans/Bengals Photos to promote, publicize, and endorse the

“Beats by Dre” brand and its products on his SOCIAL MEDIA ACCOUNTS.

       36.     Upon information and belief, DEFENDANT routinely uses his SOCIAL MEDIA

ACCOUNTS, including his Instagram account, to promote various brands and products, including

by both publishing explicitly “sponsored” social media posts that directly reference or promote a

brand/product and by including products and brands in posts (i.e. “product placement”) that are

not explicitly identified as “sponsored” content.

       37.     Upon information and belief, DEFENDANT reaps a direct financial benefit by

using product placement as a technique to promote Beats headphones to his approximate 1.5

million social media followers on Instagram.

       38.     Upon information and belief, DEFENDANT specifically chose to publish the two

photographs shot by PLAINTIFF and included above because they prominently feature

DEFENDANT wearing Beats headphones.



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       39.     Upon information and belief, on or about May 17, 2018, DEFENDANT published

the third Texans/Bengals Photo on his personal Instagram account, as shown below.




       40.     Upon information and belief, DEFENDANT not only published the third

Texans/Bengals Photo on his Instagram feed but also selected this photo to use as his main profile

picture, which is visible every time DEFENDANT posts a photo/content to his Instagram feed.

       41.     Upon information and belief, DEFENDANT used PLAINTIFF’S third

Texans/Bengals Photo as his main profile picture on Instagram until at least January 2019.




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         42.   Upon information and belief, on or about January 23, 2020, PLAINTIFF shot the

photo shown below of DEFENDANT signing autographs after a Houston Texans practice leading

up to the 2020 “Pro Bowl” game held in Kissimmee, Florida (the “Pro Bowl Photo”).




         43.   Upon information and belief, PLAINTIFF created and is the sole author of the Pro

Bowl Photo.

         44.   PLAINTIFF created the Pro Bowl Photo pursuant to a valid media/photojournalist

credential.

         45.   PLAINTIFF is the sole author and owner of all copyrights in and to the Pro Bowl

Photo.




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       46.    Upon information and belief, PLAINTIFF registered his copyright in the Pro Bowl

Photo with the U.S. Copyright Office under Registration No. VA0002206698.

       47.    Upon information and belief, on or about January 24, 2020, DEFENDANT

published the Pro Bowl Photo on his personal Instagram account, as shown below.




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       48.     Attached hereto as Exhibit 1 is a chart detailing DEFENDANT’S unauthorized and

infringing uses of PLAINTIFF’S Photographs and the respective copyright registration

information for each work at issue.

       49.     Upon information and belief, DEFENDANT did not seek or obtain permission,

authorization, or a license from PLAINTIFF, or any other authorized party, for the use of

PLAINTIFF’S Photographs.

       50.     PLAINTIFF did not grant permission, authorization, or a license to DEFENDANT

related to any of PLAINTIFF’S Photographs.

       51.     Upon information and belief, DEFENDANT did not seek or obtain permission,

authorization, or a license from AP for the use of PLAINTIFF’S Photographs identified herein.

       52.     Upon information and belief, AP did not issue a license or grant permission to

DEFENDANT for the use of PLAINTIFF’S Photographs and has expressly denied that it provided

copies of PLAINTIFF’S Photographs identified herein to DEFENDANT.

       53.     Upon information and belief, DEFENDANT did not seek or obtain permission,

authorization, or a license from either the NFL or the Houston Texans for the uses of

PLAINTIFF’S Photographs identified herein.

       54.     Upon information and belief, neither the NFL nor the Houston Texans have valid

rights or authority or license to issue a sub-license or grant permission to DEFENDANT for the

uses of PLAINTIFF’S Photographs identified herein.

       55.     Prior to bringing this action, PLAINTIFF advised AP and the NFL that

DEFENDANT did not have a license or permission to use his photographs on his social media

accounts without purchasing a license in advance and demanded that they take the necessary steps




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to advise DEFENDANT and instruct him to remove the unauthorized social media posts and to

stop using PLAINTIFF’S photographs without permission.

       56.      Upon information and belief, despite PLAINTIFF’S requests, at least prior to this

action, DEFENDANT failed to remove or take down his posts on his SOCIAL MEDIA

ACCOUNTS featuring unauthorized copies of PLAINTIFF’S Photographs and continued to copy,

publish, and use without permission or a license other photographs belonging to PLAINTIFF,

including those identified herein, even after being notified of PLAINTIFF’S copyrights.

       57.      Upon information and belief, DEFENDANT’S September 16, 2017 Instagram post

featuring an unauthorized copy of PLAINTIFF’S Texans/Bengals Photo remained published as of

August 31, 2020 and generated a total of 35,499 “likes.”

       58.      Upon information and belief, DEFENDANT’S September 26, 2017 Instagram post

featuring an unauthorized copy of PLAINTIFF’S other Texans/Bengals Photo remained published

as of August 31, 2020 and generated a total of 47,418 “likes.”

       59.      Upon information and belief, DEFENDANT’S May 17, 2018 Instagram post

featuring an unauthorized copy of PLAINTIFF’S other Texans/Bengals Photo remained published

as of August 31, 2020 and generated a total of 91,608 “likes.”

       60.      Upon information and belief, DEFENDANT’S January 24, 2020 Instagram post

featuring an unauthorized copy of PLAINTIFF’S Pro Bowl Photo has since been removed, but not

before generating at least 44,460 “likes.”

                                      COUNT I
                               COPYRIGHT INFRINGEMENT

       61.      PLAINTIFF repeats and re-alleges each allegation set forth above as if set forth

fully herein.

       62.      The foregoing acts by DEFENDANT constitute infringements of PLAINTIFF’S


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copyrights in the Photographs identified herein that are registered under copyrights

VA0002205527; VA0002206698; and VA0002219150.

       63.     The foregoing acts by DEFENDANT violate PLAINTIFF’S exclusive copyrights

in the Photographs in violation of the Copyright Act, 17 U.S.C. §§101, et seq.

       64.     Upon information and belief, DEFENDANT infringed PLAINTIFF’S copyrights

in and to the Photographs identified herein by his unauthorized copying, reproducing, publishing,

and publicly displaying the Photographs, including on his SOCIAL MEDIA ACCOUNTS.

       65.     PLAINTIFF did not license or otherwise grant permission to DEFENDANT to

copy, reproduce, publicly display, distribute, or use his copyrighted Photographs in any manner.

       66.     Upon information and belief, DEFENDANT did not obtain permission,

authorization, or a license to publish and display PLAINTIFF’S Photographs identified herein

prior to publishing them on his SOCIAL MEDIA ACCOUNTS.

       67.     Upon information and belief, DEFENDANT knew and/or acted willfully under the

law and with reckless disregard of PLAINTIFF’S copyrights by continuing to copy and publish

PLAINTIFF’S Photographs after being notified of PLAINTIFF’S claims and by failing to ensure

that the photographs that he published and used on his SOCIAL MEDIA ACCOUNTS were

properly licensed.

       68.     Upon information and belief, DEFENDANT used and exploited PLAINTIFF’S

Photographs without permission as alleged herein for commercial purposes.

       69.     By his copying and display of PLAINTIFF’S Photographs without a valid license,

DEFENDANT caused PLAINTIFF significant injuries, damages, and losses in amounts to be

determined at trial.


       WHEREFORE, PLAINTIFF respectfully prays for judgment on his behalf and for the


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following relief:

        1.      A trial by jury of all claims and issues so triable;

        2.      A permanent injunction against DEFENDANT from copying, displaying,

distributing, advertising, promoting, and/or exploiting in any manner the copyrighted works

identified herein, and requiring DEFENDANT to deliver to the Court for destruction or other

appropriate disposition of all infringing materials, including digital files of PLAINTIFF’S

Photographs, that are in the control, possession, or custody of DEFENDANT;

        3.      All allowable damages under the Copyright Act, including but not limited to

statutory or actual damages, including damages incurred as a result of PLAINTIFF’S loss of

licensing revenue and DEFENDANT’S profits attributable to the infringements, and damages

suffered as a result of the lack of credit and attribution;

        4.      Such other and further relief as the Court may deem just and proper.


Dated: January 12, 2021

                                                Respectfully submitted,


                                                /s/ Kevin P. McCulloch
                                                Kevin P. McCulloch, Esq.
                                                McCulloch Kleinman Law
                                                kevin@mkiplaw.com




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